977 F.2d 593
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Richard MUNOZ-RAMIREZ, Defendant-Appellant.
    No. 92-50023.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 9, 1992.*Decided Oct. 14, 1992.
    
      Before D.W. NELSON, REINHARDT and KOZINSKI, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Defendant, Richard Munoz-Ramirez, appeals the sentence he received after pleading guilty to a one-count indictment charging illegal reentry into the United States in violation of 8 U.S.C. § 1326.   The indictment did not allege a prior felony conviction, and, therefore, it charged defendant with a violation of 8 U.S.C. § 1326(a), simple reentry after deportation.   See United States v. Campos-Martinez, No. 91-50756, slip. op. 11877 (9th Cir.  Oct. 5, 1992).   The maximum sentence for that charge is two years in prison.   United States v. Arias-Granados, 941 F.2d 996, 997 (9th Cir.1991).   Munoz-Ramirez received a sentence that exceeded the statutory two-year maximum.   Therefore, we VACATE the sentence and REMAND for resentencing.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    